
*1104ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.
hThe Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations that respondent commingled and converted client funds, failed to promptly provide an accounting to her client, and made dubious entries on the belated accounting to justify the retention of the client’s funds. Prior to the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline, in which the parties stipulated that respondent has violated Rules 1.4(a), 1.5(f)(3), 1.5(f)(5), 1.15(c), 1.15(d), 8.4(a), and 8.4(c) of the Rules of Professional Conduct. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Vivica D. Smith Pierre, Louisiana Bar Roll number 22625, be suspended from the practice of law for a period of three years, subject to the conditions set forth in the petition for consent discipline.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from, the date of finality of this court’s judgment until paid.
